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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

                                                   §
                                                   §
  GREGORY MAYER, individually and
                                                   §
  on behalf of all others similarly
                                                   §     CIVIL ACTION NO. 4:17-cv-7
  situated,
                                                   §
          Plaintiff,
                                                   §
                                                   §
  v.
                                                   §
                                                   §
  MEDICREDIT, INC. and NPAS, INC.,
                                                   §
      Defendants
                                                   §
                                                   §


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come the parties, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

hereby dismiss the present action with prejudice, each party to bear its own costs.


Dated: July 11, 2017                         Respectfully submitted,

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                                            ATTORNEYS FOR DEFENDANTS



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Stipulation of Dismissal with Prejudice was
served on all counsel of record on July 11, 2017 via CM/ECF, in accordance with the Federal
Rules of Civil Procedure.

                                            /s/ Walt D. Roper
                                            Walt D. Roper
